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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

R.M.S. TITANIC, INC.,
successor in interest to Titanic
Ventures, limited partnership,

               Plaintiff,

v.                                                   Civil Action No. 2:93cv902

The Wrecked and Abandoned
Vessel, . . .believed to be
the RMS TITANIC, in rem,

               Defendant.

     OPPOSITION OF RMST TO THE TRUSTEES OF THE NATIONAL MARITIME
               MUSEUM’S AMENDED MOTION TO INTERVENE

        NOW COMES Plaintiff RMS Titanic, Inc., (“RMST”), by counsel, and files its response

in opposition to the Amended Motion to Intervene (the “Amended Motion”) filed by the Trustees

of the National Maritime Museum (“the Museum”) on November 11, 2018 [Dkt. Nos. 519, 520].

As grounds for its opposition, RMST respectfully states as follows:

                                   PRELIMINARY STATEMENT

        The Amended Motion does not actually seek any affirmative relief from the Court. Instead,

under the guise of asking this Court to continue to hold in abeyance consideration of its request to

intervene, the Museum unlawfully seeks to interfere with RMST’s efforts to consummate the

transaction pending for consideration before the Court. For the reasons set forth below, the Court

should deny both the Museum’s original motion to intervene and the Amended Motion.

        After a fifteen-month marketing and auction process, RMST, along with its parent

company, Premier Exhibitions, Inc., and certain of its affiliates, as debtors and debtors-in-


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possession (collectively, the “Debtors”), obtained Bankruptcy Court approval to sell substantially

all of their assets, including the stock of RMST, to Premier Acquisition Holdings LLC (“PAHL”).

The sale maintains the Debtors’ business as a going concern and preserves nearly 120 jobs,

including the Debtors’ entire curation team. Following Bankruptcy Court approval, the Debtors

and PAHL have worked diligently to address the concerns raised by this Court at the October 25,

2018 hearing, and to exchange information and documents with the National Oceanic and

Atmospheric Administration (“NOAA”).           Those efforts resulted in, among other things, the

negotiation and recent submission to the Court of a revised proposed Order, which is supported by

NOAA and seeks to allay the concerns previously raised by the Court.

        In light of the foregoing, the Amended Motion should be denied for at least three reasons.

First, the Museum lacks both constitutional and statutory standing to appear in this Court. The

Museum cannot show that it has a redressable injury required to invoke Article III standing and

fails to articulate a basis for its intervention under Fed. R. Civ. P. 24 (“FRCP 24”).

        Second, the Museum cannot use FRCP 24 to attack collaterally the results of the Debtors’

bankruptcy sale process. The Museum repeatedly attempted to obtain Bankruptcy Court approval

for a sale of the Artifacts to itself at the lowest price possible, without having to subject itself to

an open, competitive bidding process. These efforts failed, and the Bankruptcy Court entered the

Sale Order (defined below) approving PAHL as the successful bidder. The Museum cannot

circumvent the Bankruptcy Court’s jurisdiction and final adjudication by lobbing in competing

term sheets in this Court. Such gamesmanship is blatant forum shopping and violates the express

terms of the Sale Order and the automatic stay provided under Section 362 of the Bankruptcy

Code.




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        Third, the Amended Motion improperly seeks to substitute the Museum as the self-

appointed watchdog of the STAC1 and FTAT (collectively, the “Titanic Artifacts”) under the guise

of “public interest.” In reality, the Museum is simply an aggrieved, would-be purchaser acting

solely in its own best interests to obtain ownership of the Titanic Artifacts at a substantially reduced

price and without the support of any creditor constituency. Worse still, the Museum’s proposal

would ensure the termination of the Debtors’ 120 employees and the removal of the Titanic

Artifacts from the United States – assuming a chapter 7 trustee would even be willing to sell the

Artifacts to the Museum. For these reasons, and as more fully set forth below, RMST respectfully

requests that the Amended Motion to Intervene – as well as the Original Motion – be denied.

                                              BACKGROUND

        On June 15, 2018, the Debtors filed in the Bankruptcy Court their Motion for Approval of

(a) Competitive Bidding and Sale Procedures; (b) Form and Manner of Notices; (c) Form of Asset

Purchase Agreement (“APA”); (d) Break-Up Fee and Expense Reimbursement; (e) Scheduling

Auction and Hearing to Consider Final Approval of Sale, Including Assumption and Assignment

of Related Executory Contracts and Unexpired Leases; (f) Authorizing Sale of the Transferred

Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests;(g) Settlement with

PacBridge Parties; and (h) Granting Related Relief (the “Sale Motion”).

        On June 29, 2018, RMST filed in this Court its Motion to Approve Asset Purchase

Agreement and Authorize the Sale of 100% of RMST’s Stock to Premier Acquisition Holdings LLC

or Other Qualified Purchaser as Approved by the Bankruptcy Court and Memorandum in Support

Dkt. Nos. 447, 448 (the “Approval Motion”). The Government and NOAA filed a response on

July 13, 2018, to which RMST replied on July 19, 2018. Dkt. Nos. 454, 455.


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  Capitalized words used but not defined herein shall have the meanings ascribed to them in the Opposition of RMST
to the Trustees of the National Maritime Museum’s Motion to Intervene [Dk. No. 485] (the “Original Response”).

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        Initially, the Museum attempted to participate in this action by lodging a Notice of

Appearance Dkt. No. 450, to which RMST objected. Dkt. Nos. 453, 457, 465. The Court sustained

RMST’s objection.     On August 17, 2018, the Museum filed its Motion to Intervene and

accompanying Memorandum in Support Dkt. Nos. 474, 475 (the “Original Motion”).

         On August 31, 2018, RMST filed its opposition to the Original Motion and the United

States filed a response to the Original Motion. Dkt. Nos. 484 and 485. On September 18, 2018,

pursuant to the Museum’s request, this Court ordered that the Original Motion be held in abeyance.

Dkt. No. 493.

        On October 19, 2018, the Bankruptcy Court entered an Order (a) Approving Asset

Purchase Agreement, (b) Authorizing Sale of the Transferred Assets Free and Clear of all Liens,

Claims, Encumbrances and Interests, (c) Authorizing the Assumption and Assignment of Certain

Executory Contracts and Leases in Connection Therewith, (d) Approving Settlement with the

Pacbridge Parties, and (e) Granting Related Relief (the “Sale Order”).

         On October 31, 2018, PAHL filed its Motion to Intervene and accompanying

Memorandum in Support. Dkt. Nos. 506, 507. PAHL’s Motion to Intervene was granted by the

Court on November 5, 2018. Dkt. No. 515.

        Following this Court’s initial hearing on the Approval Motion held October 25, 2018,

RMST and PAHL have worked extensively with NOAA to address this Court’s concerns and to

provide NOAA and the Court with supplemental information and documents regarding PAHL and

the sale transaction. See Dkt. Nos. 514, 516, 518, 521-526. Those efforts yielded a revised

proposed Order – supported by NOAA – that attempts to address this Court’s concerns raised at

the October 25, 2018 hearing. PAHL filed with the Court the revised proposed Order on November

16, 2018. Dkt. No. 527.



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        On November 12, 2018, the Museum filed its Amended Motion, wherein the Museum

does not ask this Court to grant intervention so it may participate in these proceedings as a party.

Rather, the Amended Motion asks the Court to continue to hold its motion “in abeyance” while it

attacks the Approval Motion from the sidelines in violation of the Sale Order and Bankruptcy

Code.

                                                ARGUMENT

I.      THE MUSEUM LACKS STANDING UNDER ARTICLE III OF THE
        CONSTITUTION AND FRCP 24.2

        A.       The Museum Lacks Article III Standing.

        At the outset, the Museum’s application for intervention must be denied because it lacks

Article III standing to appear in this proceeding. The Supreme Court has held unequivocally that

“an intervenor must meet the requirements of Article III [standing] if the intervenor wishes to

pursue relief not requested by a plaintiff.” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645,

1648 (2017) (so holding when the applicant moved under FRCP 24(a)). See also 6 MOORE'S

FEDERAL PRACTICE - CIVIL § 24.03 (2018) (noting that Laroe did not apply specifically to

permissive intervention but stating that “the more consistent position is that permissive

intervention is available only if the would-be intervenor has Article III standing.”).

        To have Article III standing, a party “must show that it has: (1) suffered an ‘injury in fact’

that is ‘real and immediate’ and not merely ‘conjectural or hypothetical’; (2) that the injury is fairly

traceable to the defendant’s conduct; and (3) that a favorable federal court decision is likely to

redress the injury.” In re W.R. Grace & Co., 468 B.R. 81, 222 (D. Del. 2012) (internal citations

omitted). See generally Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992). Thus, a party lacks Article



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 In addition to the arguments set forth herein, RMST hereby incorporates by reference all arguments made in its
Opposition to Motion to Intervene, filed on August 31, 2018. Dkt. No. 485.

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III standing if, among other things, it is “merely ‘speculative’ – as opposed to ‘likely’ – that the

plaintiff’s injury would be redressed by a favorable decision.” Arlington Capital, LLC v. Bainton

McCarthy LLC (In re GT Automation Grp., Inc.), 828 F.3d 602, 604 (7th Cir. 2016) (quoting

United States v. Windsor, 570 U.S. 744, 757 (2013)).

        Here, the Museum lacks Article III standing because it cannot show redressability. The

Museum fails to articulate how its requested intervention could redress its evident dissatisfaction

with the proposed sale of RMST’s stock to PAHL. Specifically, even if the Museum were granted

the right to intervene here, it would not then simply replace PAHL and become entitled to purchase

the Titanic Artifacts. To the contrary, the Debtors are contractually obligated (subject to this

Court’s approval) to sell RMST’s stock to PAHL. A sale to the Museum – which is virtually

impossible before the Debtors are liquidated – would require both a willing seller and significant

action in the Bankruptcy Case by other parties (e.g., the Debtors’ stakeholders), none of whom are

interested in the Museum’s proposal. Just like Lujan, “[t]he short of the matter is that redress of

the . . . injury . . . requires action . . . by [third-parties]; and any relief . . . provided . . . [i]s not

likely to produce that action.” 504 U.S. at 571. Accordingly, whatever injury the Museum has, if

any, cannot be redressed by its proposed intervention. The Museum, therefore, lacks Article III

standing to appear.

        B.      The Museum Fails to Demonstrate any Basis for Intervention under FRCP 24.

        Additionally, the Museum cannot satisfy the procedural requirements for intervention,

even assuming it has Article III standing. Pursuant to FRCP 24, there are two means by which a

non-party can intervene in an action: intervention as a matter of right, governed by subsection (a),

or permissive intervention, governed by subsection (b). The Museum categorically fails to meet

either standard.



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                 1.     Intervention as of Right.

        FRCP 24(a)(2) provides that, upon a timely motion, the court must permit anyone to

intervene who:

                 [C]laims an interest relating to the property or transaction that is the
                 subject of the action, and is so situated that disposing of the action
                 may as a practical matter impair or impede the movant’s ability to
                 protect its interest, unless existing parties adequately represent that
                 interest.

FED. R. CIV. P. 24(a)(2). Within this Circuit, the intervenor-movant “must show first, an interest

sufficient to merit intervention; second, that without intervention, its interest may be impaired; and

third, that the present litigants do not adequately represent its interest.” Virginia v. Westinghouse

Elec. Corp., 542 F.2d 214, 216 (4th Cir. 1976). The failure to meet independently all three prongs

is fatal to the putative intervenor’s claim. Id. See also Dairy Maid Dairy v. United States, 147

F.R.D. 109, 110 (E.D. Va. 1993) (“[o]f course, [movant] must meet all three prongs of the test in

order to establish its right to intervene.”). Importantly, “remote or contingent” interests do not

suffice – the interest must be “direct.” Id.

        Here, the Museum has not made – and cannot make – the showing required under

Westinghouse; it fails the first prong. Although the Museum attempts to cloak itself under the

guise of altruistic intent, the fact remains that the Museum is only a disgruntled would-be

purchaser, it has no legal interest in the Titanic Artifacts, let alone an interest “sufficient to merit

intervention.” Westinghouse, 542 F.2d at 216. Unlike RMST and PAHL, the Museum has no

direct interest in the Titanic Artifacts – it is neither the owner nor the bankruptcy court approved

buyer of RMST’s stock. Instead, the only interest the Museum could possibly have in the Titanic

Artifacts is subject to at least three contingencies: (1) this Court would have to deny approval of

the APA; (2) a chapter 7 trustee would have to agree to sell the Artifacts to the Museum after the

case has converted and the employees are terminated; and (3) the stakeholders, including the

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Debtors’ creditors, would have to support such a transaction - an unlikely circumstance given the

Museum’s offer is over $4 million less than the Bankruptcy Court-approved sale.3 This outcome

is insufficiently direct to constitute a recognizable “interest” under FRCP 24(a). See, e.g., Dairy

Maid, 147 F.R.D. at 111 (denying an intervention motion when the subject matter was “remote

and contingent.”); Wash. Elec. Coop., Inc. v. Mass. Mun. Wholesale Elec. Co., 922 F.2d 92, 97 (2d

Cir. 1990) (among other things, denying as insufficiently direct the putative intervenor’s ‘interest’

when it was “based upon a double contingency.”).

         Indeed, as a disgruntled would-be purchaser, the Museum also lacks standing to be heard

before the Bankruptcy Court as a party in interest. See, e.g., In re Gulf States Steel, Inc. of Alabama,

285 B.R. 739, 742 (Bankr. N.D. Ala. 2002) (citing precedent from the Second, Seventh, and Tenth

Circuits and stating, “There are numerous authorities which hold that a non-creditor, whose only

connection with a bankruptcy case is that the party was an unsuccessful bidder at a bankruptcy

sale, lacks standing to challenge the right of other bidders to consummate the sale.”). Cf. In re

Westwood Community Two Ass'n, Inc., 293 F.3d 1332, 1335 (11th Cir. 2002) (“the person

aggrieved doctrine limits standing to appeal a bankruptcy court order to those individuals who

have a financial stake in the order being appealed. . . . A person has a financial stake in the order

when that order ‘diminishes their property, increases their burdens or impairs their rights.’”)

(internal citations omitted).        Accordingly, the Museum fails the Westinghouse test and cannot,

therefore, intervene as a matter of right under FRCP 24(a)(2).




3
 Although the Museum purports to structure the transaction as a sale under section 363 of the Bankruptcy Code,
only the Debtors can move for relief under that section. See 11 U.S.C. § 363(f) (“[t]he trustee may sell property
under . . . this section . . .”) (emphasis supplied). See also In re Belton Inns, Inc., 71 B.R. 811, 815 (Bankr. S.D.
Iowa 1987) (“[s]ection 363(f) clearly authorizes such a sale only by the trustee or debtor-in-possession . . .”).

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                2.      Permissive Intervention

        The Museum also cannot satisfy the alternative basis for intervention under FRCP 24(b).

FRCP 24(b)(1)(B) states, in relevant part: “On timely motion, the court may permit anyone to

intervene who . . . has a claim or defense that shares with the main action a common question of

law or fact.” FED. R. CIV. P. 24(b)(1)(B). This broad grant of discretion is cabined by subsection

(b)(3), which cautions that “the court must consider whether the [permissive] intervention will

delay or prejudice the adjudication of the original parties’ rights.” Id. at (b)(3).

        Here, the Museum does not share “with the main action a common question of law or fact.”

FED. R. CIV. P. 24(b)(1)(B) (emphasis supplied). The main action here is the in rem proceeding

against the vessel and wreck site, from which RMST obtained the salvage award and

corresponding conditional title to the STAC. The nature of the main action is unaltered by the

collateral sale of RMST’s stock – an entirely different proceeding invoking separate legal rights.

Cf. Mt. Hawley Ins. Co. v. Sandy Lake Props., Inc., 425 F.3d 1308, 1312 (11th Cir. 2005)

(affirming denial of permissive intervention because “the primary issue in the [main] action is

whether Mt. Hawley owes insurance coverage . . . [and] the issue of insurance coverage is unrelated

to the issue of fault in the [separate] action.”).

        Moreover, even if the Museum could meet the commonality requirement – and it cannot –

intervention would severely prejudice RMST’s rights to the Titanic Artifacts. As RMST has

represented and the record establishes, time is of the essence for RMST and its affiliated debtors.

If the proposed sale to PAHL does not close before the end of next month, the Debtors will run

out of cash and likely suffer a conversion to chapter 7 of the Bankruptcy Code. After conversion,

a chapter 7 trustee will be appointed and will control RMST’s actions, including over how to

maximize the value of the Titanic Artifacts for the benefit of the Debtors’ creditors. This will

almost certainly lead to litigation in the Bankruptcy Court and this Court regarding a sale of some

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or all of the Titanic Artifacts, something that RMST has sought to avoid. See 11 U.S.C. § 704(a)(1)

(“[t]he trustee shall – collect and reduce to money the property of the estate . . ."). This severe

prejudice militates in favor of denying the Museum’s request to intervene. Cf. Gould v. Alleco,

Inc., 883 F.2d 281, 287 (4th Cir. 1989) (affirming the denial of a request to intervene under FRCP

24(a)(2) but holding that the intervention “clearly would have prejudiced the [original party]”

because it would have reduced the value of the fund in question). Accordingly, the Museum should

not be permitted to intervene under FRCP 24(b).

II.       THE AMENDED MOTION IS AN IMPERMISSIBLE COLLATERAL ATTACK
          ON THE SALE ORDER.

          The Amended Motion should also be denied because it is an improper collateral attack on

the Sale Order. “An impermissible collateral attack is a legal proceeding pursued outside of the

proscribed [sic] method of challenging a final order, generally by way of ancillary proceedings in

the same court or another court.” In re Daewoo Motor Co., Ltd. Dealership Litig., No. MDL-

1510, 2005 U.S. Dist. LEXIS 43197, at *33 (M.D. Fla. Jan. 6, 2005). A final order – even a

purportedly incorrect one – is not subject to collateral attack. Celotex v. Edwards, 514 U.S. 300

(1995).

          The Sale Order, which is both final and unappealed, provides for the sale of RMST’s stock

to PAHL – not the Museum. The Museum had ample opportunity to change this result. For

example, the Debtors’ professionals repeatedly encouraged the Museum to submit a qualified,

competing bid for the purchase of the the Debtors’ assets; but the Museum refused.

          Instead, the Museum abandoned its efforts before the Bankruptcy Court and now seeks to

subvert the sale to PAHL in this Court through the Amended Motion, in part by casting meritless

aspersions on PAHL. See, e.g., Amended Motion at 8 (stating that the Museum is “committed to

acquiring the [Titanic Artifacts]” and that “if the proposed sale to [PAHL]is not consummated,

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NMM is willing and able to acquire the [Titanic Artifacts] for the benefit of the public interest.”).

Indeed, the Museum even annexes to the Amended Motion a “letter of intent” dated the same day

as its filing, never previously discussed with RMST, and that outlines a proposed structure for the

transaction. See generally Exhibit A, Amended Motion. This attempt to circumvent the sale of

RMST’s stock to PAHL is not only a prohibited collateral attack on the Sale Order but also a

flagrant violation of the express terms of the Sale Order and the automatic stay. See Sale Order at

¶ 9 (prohibiting “any action [that] adversely affect[s] or interfere[s] with the ability of the Sellers

to transfer the Transferred Assets to the Purchaser in accordance with the Asset Purchase

Agreement.”); see also 11 U.S.C. § 362(a)(3) (staying “any act to obtain possession of property of

the estate or of property from the estate or to exercise control over property of the estate.”). Cf. In

re Met-L-Wood Corp., 861 F.2d 1012, 1018 (7th Cir. 1988) (“by seeking heavy damages from the

. . . purchaser . . . the suit is a thinly disguised collateral attack on the judgment confirming the

sale.”). As the Fourth Circuit held on strikingly similar facts, “Respect for the orderly process of

law demands that the Florida bankruptcy court’s final, unappealed order be given effect.” Spartan

Mills v. Bank of Am. Ill., 112 F.3d 1251, 1258 (4th Cir. 1997). The Amended Motion should,

therefore, be denied as a procedurally improper collateral attack.

III.    THE MUSEUM IMPROPERLY SEEKS TO USURP NOAA’S ROLE AS
        ADVISOR TO THE COURT.

        In addition to its fatal procedural shortcomings, the Amended Motion should be denied

because it is substantively flawed. In the Amended Motion, the Museum continues the canard it

has expressed before this Court numerous times – namely that PAHL’s intentions as to the Titanic

Artifacts and NOAA’s diligence efforts thereto are suspect. See Amended Motion at 7 (“[n]either

RMST nor the Stalking Horse Purchaser have committed to keep the Artifact Collection together

as an integrated whole.”). See also id. at 3-4 (“it is not apparent that NOAA has submitted


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diligence requests with respect to . . . the French Collection”; “NOAA limited the scope of its

inquiry . . .”). Using the baseless strawman that the Debtors’ only value is in the Titanic Artifacts,

the Museum implores the Court to ignore NOAA’s recommendation and, instead, provide for a

sale of the Titanic Artifacts to the Museum. The flaws with this purported solution are immediately

apparent.

         First, NOAA – not the Museum – is vested with the sole authority to make “reports and

recommendations to the Court.” Revised Covenants and Conditions at § V.A. The Museum’s

attempt to usurp NOAA’s role vis-à-vis this Court is inappropriate, particularly when it is the self-

selected replacement. Second, the Museum’s representations are inaccurate and misleading.

Tellingly, it is not willing to make “any commitment necessary to ensure that the Artifact

Collection is kept together.” To the contrary, the Museum continuously refused to make the one

commitment – a nonrefundable deposit – necessary to participate in the Debtors’ Bankruptcy

Court-approved auction process. Likewise, although the Museum maintains that it represents the

“public interest” and will “ensure that the Artifact Collection is kept together,” its continued

brinksmanship brings the Debtors closer to liquidation with every passing day.4 As set forth above,

the Debtors’ liquidation will all but ensure that the Artifact Collection is “split up, sold to private

collectors, and lost as an identifiable assemblage in perpetuity,” Amended Motion at 2, the very

result the Museum allegedly seeks to avoid. Finally, the Museum’s proposal would result in the

removal of the Titanic Artifacts from the United States and the corresponding loss of employment

for the Debtors’ remaining 120 employees. See Motion to Intervene at 3 (“[i]t is the goal of NMM

to return the TITANIC Collections to the United Kingdom.”).


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  The Debtors’ fear that the Museum lacked the financial wherewithal to close on its proposed transaction in the
Bankruptcy Court was justified. Despite repeated assurances that it could raise the $19.2 million, the Museum now
presents an unauthorized letter of intent with a substantially reduced $14.8 million purchase price, seeking to take
advantage of the cash strapped Debtors’ financial position.

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        Thus, the Museum’s true intentions are less than noble. It clearly is more concerned with

acquiring the Titanic Artifacts at a fire-sale price than it is with protecting the public interest in

keeping the Titanic Artifacts together. If it were otherwise, the Museum would have simply

participated in the Debtors’ sale process – which it had every opportunity to do. The Museum’s

purported “advice” is, therefore, inappropriate and self-serving and should be disregarded.

        For the foregoing reasons, RMST respectfully requests that the Court enter an Order

denying both the Museum’s Original Motion and the Amended Motion to Intervene.


        Dated: November 26, 2018.

                                                      Respectfully submitted,

                                                      R.M.S. TITANIC, INC.

                                                      By Counsel

                                                             /s/
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                                       CERTIFICATION

       I hereby certify that the foregoing has been electronically filed through the Court’s ECF
system this 26th day of November, 2018.




                                                           /s/
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